Case 1: 04- -c\/- -01176- STA Document 11 Filed 04/22/05 Page 1 of 3 OSJWG|D 18

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IN THE UNITEI) sTATEs DIsTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE;: %P€€ jo " Q/j
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MARQUINTAS D. WALKER, ) ”‘/3/ \¢?O 490(
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Plaimifr, ) "@1/ '
)
v. ) No. 04-1176 T/An
)
PoRTER CABLE / DELTA, )
)
Defendant. )

 

ORDER GRANTING MOTION TO AMEND

 

Before the Court is Plaintiff’s Motion to Amend Complaint filed on March 15, 2005 . For
the reasons set forth below, the Motion is GRANTED.

A pleading may be amended “only by leave of court . . . and leave shall be freely given
When justice so requires.” Fed. R. Civ. P. 15(a). “ln deciding Whether to allow an amendment,
the court should consider the delay in filing, the lack of notice to the opposing party, bad faith by
the moving party, repeated failure to cure deficiencies by previous amendments, undue prejudice
to the opposing party, and futility of amendment.” Perkins v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2001).

ln this case Plaintiff took the deposition of various defense Witnesses on March 23, 2005.
After taking these depositions, Plaintiff determined that claims under the Tennessee Human
Rights Act were appropriate; therefore, Plaintiff has petitioned the Court for permission to amend
her Complaint to add claims of race and gender discrimination/retaliation under the Tennessee

Human Rights Act.

This document entered on the docket sheet ing compliance
with Flule 58 and‘or.79 (a) FRCP on ( H ‘cl 05 @

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Afcer review, the Court determines that Plaintiff’s proposed amendments have not been
made in bad faith, will not cause undue prejudice to Defendant, and are not futile. As such, for
good cause shown and because leave to amend should be freely granted, the Motion to Amend is

GRANTED. Plaintiff shall file her Amended Complaint within 11 days of entry of this Order.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: gaf O'?Q', QQN/

IT IS SO ORDERED.

   

UNITD sATES DISTRIC COURT - WETERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 1:04-CV-01176 was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

W. Stephen Gardner
YOUNG & PERL, P.C.
One Commerce Square
Ste. 23 80

1\/lemphis7 TN 38103

Justin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson, TN 38308

Michael L. Russell

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson, TN 38308

Honorable J ames Todd
US DISTRICT COURT

